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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    SEAN RIORDAN, #255752
     Assistant Federal Defenders
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     DANIEL BARRAZA-BAZUA
6
7
                                      UNITED STATES DISTRICT COURT
8
                                     EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                       )   No. 2:17-cr-00142-KJM-1
                                                     )
11                      Plaintiff,                   )   STIPULATION AND [PROPOSED] ORDER
                                                     )   FOR EXTENSION TO POST BOND
12           v.                                      )
                                                     )   Judge: Hon. Deborah Barnes
13   DANIEL BARRAZA-BAZUA,                           )
                                                     )
14                     Defendants.                   )
                                                     )
15
16            The United States of America, through its counsel, Assistant United States Attorney
17   Amanda Beck, and defendant, Daniel Barraza-Bazua, through Assistant Federal Defender, Sean
18   Riordan, stipulate that the posting of the $100,000 secured bond by real property is extended by
19   one week to August 25, 2017.
20                On August 11, 2017, the Court granted the defendant until August 18, 2017 to submit the
21   secured bond paperwork. Counsel is still awaiting the Property Insurance Report and additional
22   time is required for the parties to notarize and record the deed of trust. Accordingly, the parties
23   agree that the deadline for posting the property bond may be extended an additional week, to
24   ///
25   ///
26   ///
27
28

      Stipulation to Extend Time                         -1-                                 17-cr-00142 KJM
       Case 2:17-cr-00142-KJM Document 19 Filed 08/18/17 Page 2 of 2


1    August 25, 2017. This Office has contacted Assistant United States Attorney Amanda Beck and
2    she has no objection to this request.
3
4
5    DATED: August 18, 2017                       HEATHER E. WILLIAMS
6                                                 Federal Defender
7                                                 /s/Noa Oren for Sean Riordan
8                                                 SEAN RIORDAN
                                                  Assistant Federal Defender
9                                                 Attorney for DANIEL BARRAZA-BAZUA

10
     DATED: August 18, 2017                       PHILLIP A. TALBERT
11                                                United States Attorney
12
                                                  /s/ Amanda Beck
13                                                AMANDA BECK
                                                  Assistant U.S. Attorney
14                                                Attorney for Plaintiff
15
16
17                                              ORDER
18            Finding good cause, the Court grants the defendant a one week extension to August 25,
19   2017 in which to post the $100,000 real property secured bond.
20   Dated: August 18, 2017
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      Stipulation to Extend Time                    -2-                                  17-cr-00142 KJM
